       Case 1:17-cv-21683-FAM Document 1-12 Entered on FLSD Docket 05/05/2017 Page 1 of 2


FOR CHECK-IN                                       ORDER



Kenneth Reel #1                                    FYRE Festival Week
VIP Duo (Week 2)

                                                           2
DATE

May, 5 2017                                                Order #: 47ced6fea763164a

                                                   ORDER

                                                   1 Ticket(s) x $4144.00              $4144.00

                                                   Processing Fee                       $455.84


                                                   Final Total                         $4599.84




                                                   LOCATION


                                                   Fyre Festival, 1 ocean drive
                                                   Fyre Cay FL, 33139


                                                   DETAILS


                                                   Your Event Ticket: This ticket grants you
                                                   entry to the event, and can be printed or
                                                   scanned from your phone. For easiest entry,
                                                   download the Tablelist app at
                                                   tablelist.com/download to access all details
                                                   from your order and about the event.
       Case 1:17-cv-21683-FAM Document 1-12 Entered on FLSD Docket 05/05/2017 Page 2 of 2


FOR CHECK-IN                                       ORDER



Kenneth Reel #2                                    FYRE Festival Week
VIP Duo (Week 2)
                                                           2
DATE

May, 5 2017                                                Order #: 47ced6fea763164a

                                                   ORDER

                                                   1 Ticket(s) x $4144.00              $4144.00

                                                   Processing Fee                       $455.84


                                                   Final Total                         $4599.84




                                                   LOCATION


                                                   Fyre Festival, 1 ocean drive
                                                   Fyre Cay FL, 33139


                                                   DETAILS


                                                   Your Event Ticket: This ticket grants you
                                                   entry to the event, and can be printed or
                                                   scanned from your phone. For easiest entry,
                                                   download the Tablelist app at
                                                   tablelist.com/download to access all details
                                                   from your order and about the event.
